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EXHIBIT A
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Agreement No. 05-05

CONTRACTOR AGREEMENT

THIS CONTRACTOR AGREEMENT (“Agreement”) dated September § 2005, but
effective as of January 1, 2005, batween Educational Data Systems, Inc. a Michigan
corporation (herein called “EDSI), with an address of 15300 Commerce Drive North,
Suite 200, Dearborn, MI 48120, and Caring People Alliance, a Pennsyivania non-profit
corporation (herein called “Contractor"), with an address of 1819 JFK Bivd., Suite 220,
Philadelphia, PA 19103.

WHEREAS, EDS is the recipient of certain grant funds from Philadelphia Work Force
Development Corporation (“PWOC’) to operate a program known as the Employment
Advancement and Retention Center “EARN” or the “Program”); and

WHEREAS, EDS|I has subcontracted with Contractor to provide case management
services and to lease space in connection with the Program,

NOW THEREFORE, in consideration of the mutual promises herein contained, EDS!
and Contractor, intending to be legally bound, agree as follows:

1. SCOPE OF SERVICES

During the Term (hereinafter defined), Contractor shall furnish to EDSI the services
(“Services”) set forth in the Scope of Services attached hereto as Exhibit “A” and
made a part hereof. The Case Management Services described in Exhibit A are to
be rendered by Contractor in accordance with the terms hereof and as an
independent contractor and not as an employee of EDSI.

2. TERM OF AGREEMENT

The term of this Agreement shall be from January 1, 2005 through and including
June 30, 2006 (the “Term’). Compensation shall not exceed $1,680,509 during the
period 01/01/05 to 06/30/06. The total of $1,680,509 represents the maximum
compensation due to the Contractor under this Agreement in accordance with the
budget attached hereto as Exhibit “B".

3. FISCAL MANAGEMENT.

General Terms

Adherence to the CS PLUS/TANF and Applicable Laws.

EDS! and Contractor agree to implement this Agreement in accordance with the
Personal Responsibility and Work Opportunity Reconciliation Act of 1996
(PRWORA) and federal, state and local laws, regulations, policies and procedures
(“Applicable Laws"). Nothing in this Agreement will relieve the parties from
adherence to the Applicable Laws. Any conflict or inconsistency between the
Applicable Laws and this Agreement will be resolved in favor of the Applicable Laws.
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Fiscal Contrals

a. Maintenance of Fiscal Records In Accordance with GAAP.
Contractor agrees to maintain its books and records in accordance with
Generally Accepted Accounting Principles (GAAP) and to institute fiscal controls
as to be able to satisfactorily account for all monies spent in order to perform its
obligations under this Agreement.

b. Segregation of Contract Funds.
Contractor shall keep program funds segregated from other funds belonging to
Contractor's organization by maintaining separate ledgers.

c. Responsibility for Actions of Employees and Representatives.
Employees and contractors of bath EDS! and Contractor will provide services at
Contractor's WPCC Premises (as described in Exhibit “A”). Each party shall be
responsible for the actions of its respective representatives, employees,
contractors and instructors with regard to all aspects of the Program, including,
but not limited to, the certification and submission of time and attendance

records, invoices, submission and verification of financial reports and
maintenance of records.

d. Funds Limited to the Contract Program.
Funds accrued or allocated to the Contractor under this Agreement or any
amendment to this Agreement cannot be used by the Contractor to support other

programs aperated by the Contractor under a different agraement or
amendment.

4. DEOBLIGATION

a. Agreement Contingent Upon EDS!'s Receipt of Program Funds.
Contractor agrees and understands that funds allocated to the Contractor under
this Agreement or any amendment or modification hereto are contingent upon
the Program funds being received by EDSI. EDSI, therefore, reserves unto itself
the right to unilaterally deobligate, modify or amend Contractor’s budget in
proportion to EDSI’s funding level, or if necessary, to suspend or terminate this
Agreement or any amendment hereto immediately upon written or electronic
notice to Contractor, as may be necessitated by EDSI's funding levels. If any
such daeobligation, modification or amendment shall be necessary due to EDSI's
inability to receive adequate Program funding, then there shall be a
commensurate reduction in tha Program Services to be rendered by Contractor
hereunder. Any deobligation, modification, or any Amendment thereto, shall be
effective upon notification to the Contractor by EDS!.

in such instances, costs will be reimbursed up to the date of cancellation only;
thereafter neither EDSI nor Contractor shall have any obligations whatsoever to
complete or otherwise continue the Program.

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5. METHOD OF PAYMENT

a.

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Invoicing.

Payment under this Agreement is Intended to compensate Contractor for the
expenses it incurs in maintaining the capacity to provide the Services.
Reimbursement will be based upon the line item budget (the “Budget") provided
by Contractor and included as Exhibit “B" hereto and made a part hereof. To
receive payment, Contractor shall submit invoices to EDSI monthly. Invoices
should be submitted by Contractor on or before the 10" day of the month.
Invoices submitted after the allowable time frame will be honored at the sole
discretion of EDSI, and if honorad, a 10% reduction of the face value of the
invoice can be applied. All invoices, including the final cumulative costs, for the
period of the award must be received by EDS! no later than the 15th day of the
following month. Payments shall be due to Contractor within twenty (20) days of
Contractor's submission of its invoice to EDSI, provided that EDS! has received
the necessary funding from PWDC.

For every invoice, the Contractor agrees to provide back-up information for all
payroll expenses, equipment purchases and for any single iter costing over
$500.00. Back-up information may include copies of payroll registers, invoices,
and timesheets. Contractor also agrees to provide a cumulative summary
schedule that details all costs charged to this Agreement, including fringe benefit
calculations and written documentation of allocation plan utilized, if applicable.

Invoices for reimbursable expenses shall contain the following statement signed

by Contractor, or if this Agreement is with a firm, an officer or authorized
representative of the firm:

“t hereby certify, to the best of my knowledge and belief, that this
invoice is correct, and that all items invoiced are based upon actual

costs tncurred or services rendered consistent with the terms of the
contractor agreement."

Acceptance by EDS! of Contractor back-up information supplied at the time of
invoicing does not relieve the Contractor fram any audit findings that may arise.

Contractor's Obligation to Maintain Records.

Contractor must maintain the necessary boaks/recards ta document all costs
incurred during the operation of this Agreement. At time of close out, the
Contractor will be required to submit a summary of all expenses incurred. This
close out report will be audited for compliance with TANF/CS PLUS cost
classification and allocability. Contracts are not permitted to exceed the total

amount budgeted for administrative expenses. If exceeded, EDS! will reduce a
future payment to the Contractor to recover the excess.

Cost Reimbursement Contracts.

Contractor understands that cost reimbursement contracts may only contain
authorized expenses incurred during the period of the contract and only items
budgeted for in the contract.
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Contractor is responsible for maintaining adequate books/records to document
costs charged fo this Agreement.

c. Changes to the Budget.
Any changes to the Budget require the submission of a request for approval by
the Contractor to EDS! and approval by EDSI, which shall not be unreasonably
withheld or delayed.

d.. Release of Claims Upon Final Payment.
The Contractor, upon final payment of amounts due under this Agreement, less
any credits, refunds, or rebates due to EDSI, hereby releases and discharges
EDS! from any financial claims arising from this Agreement.

6. PAYMENT ADJUSTMENTS/SUSPENSIONS

Reimbursement of Non-Budgeted and Unallowable Costs.

EDSI shall not reimburse or pay any expenditures, costs,.or payments for services to
Contractor pursuant to this Agreement which are found fo be unallowable or which
are found to be inconsistent with the latest approved Budget; provided, however,
that said Budget may be revised for more efficient and effective use of monies
available under the Agreement upon written request by the Contractor ta EDS} and
written approval thereof by EDSI in advance of the expenditure.

7. PROPERTY MANAGEMENT

a. Property Use Limited to the Program.
Property leased or purchased with EDS! funds, including personal or real
property, shall only be used in implementing the EDS! program funded by this
Agreement or any Amendment hereto. Title to the property shall vest with the

Commonwealth of Pennsylvania and the property shall be returned to EDS/ upon
termination of this Agreement.

b. Contractor Procurement Requirements.

, Contractor agrees to adhere to the following procurement procedures when
obtaining any and all commodities and contractual services, including but not
limited to, office supplies, training supplies, equipment, rental agreements,
insurance, construction, maintenance, professional consultant services, and ail
other goods and servicas needed to carry out the tarms of this Agreement.

For procurement with an aggregate cost of five hundred ($500) or more,
Contractor shall secure three (3) written quotes, and shall purchase the item(s)
based upon the lowest responsive quote received. Contractor shall submit such
documentation when seeking reimbursement for this expenditure and shall

maintain a record of the procurement and the receipt and payment of the good
or service.

c. Requirements to Return Property.

Within thirty (30) days of the termination of this Agreement or any Amendment
thereto under which the property was purchased, Contractor agrees to return to
EDSI all property purchased with funds under this Agreement or any Amendment

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thereto except where Contractor and EDSI agree that Contractor may continue
to utilize such property for another activity. Any such agreement must be in
weiting and approved by EDSI.

8. PATENT AND DATA RIGHTS

All information and data, regardiess of form, generated in the performance of, or
delivered under, this Agreement, as well as any information provided to cantractor
by EDSI, shall be and remain the sole property of EDSI. Contractor shall keep all
such information and data in confidence and not disclose or use if for any purpose
other than in performing this Agreement, except with EDSI's prior written approval.
In the event that the copyright in any data and information generated in the
performance of this Agreement does not vest in EDSI by law, Contractor hereby |
agrees to assign and assigns to EDSI the copyright in all such data and information.

9. PUBLICITY

Neither EDS! nor Contractor shall, without the prior written consent of the other

party, in any manner advertise or publish the fact that the parties hereto have
entered into this Agreement.

10. ASSIGNMENT AND SUBCONTRACTING

Performance of any part of this Agreement may not be subcontracted nor assigned
without the prior written consent of EDSI.

11. TERMINATION

This Agreement may be terminated at any time by either party with or without cause
upon ten (10) days written notice to the other party. In the event of such termination,
neither party shall have any further obligation to the other except to make any
payments that may have become due under this Agreement and except with respect
to those obligations that survive termination by the express terms of this Agreement.

12. ENFORCEMENT OF CONTRACT TERMS

The failure of either party to enforce strictly any of the provisions of this Agreement,
or to require strict performance by the other party of any of the provision hereof,
shall in no way be construed to be a waiver of such provisions or any other provision
contained herein, nor shall it in any way affect the validity of this Agreement or any
part hereof, or waive the right to enforce each and every provision herein. The
parties are responsible for fulfilling all terms and conditions of this Agreement.
While EDS! may monitor the Contractor's performance under the Agreement, the
Contractor remains solely responsible for its performance. EDS! monitoring of the
Agreement, shail not constitute a waiver or modification of any term or condition.
Terms and conditions may only be modified by written amendment signed by both

parties, subject, however, to changes in the Scope of Work pursuant to the
provisions of Section 4(a), hereinabove.

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13. AUDIT

All contracts are subject to audit. Contractor shall provide for the conduct of an
external audit of the Program funded by this Agreement and any amendments
hereto. The audit shall be conducted in accordance with and in compliance with
Commonwealth of Pennsylvania requirements, and federal circulars A-102, A-128,
A-122, and A-133 as applicable depending upon Contractor's organizational
structure.

a. Audits of Commercial Organizations.
Commercial organizations receiving in excess of $50,000.00 a year, in the
agaregate, of CS PLUS/TANEF funds, whether from EDSI or other funding
sources shail conduct a program specific independent financial and compliance
audit in accordance with GAAP, or an organization wide financial and compliance
audit that includes the CS PLUS/TANF funds received and the program ,
conducted, within its scope.

b. Period for Performance.
Audits must be conducted, completed, and submitted within 180 days of the
termination of this Agreement for program specific audits unless a different
period of time is agreed to in writing by EDSI. Other audits shall be submitted
within 30 days following the completion of the audit except that in all cases audits
shall be submitted within a year of the termination of this Agreement. Failure to
submit an audit as required shall result in the withholding of payments due
Contractor under this Agreement or any other agreement at EDSI's discretion.

¢c. Identification of Program Income.
Audit Reports shall include a schedule identifying program income.

d. Disallowed and Questioned Costs.
Contractor shall be liable to EDS! for any disallowed or questioned costs
Contractor or EDSt incur as.a result of Contractor expending funds in violation of
this agreement or in violation of the appropriate Federal, State or local statutes,
regulations, rules, policies or procedures. Disallowed or questioned costs may
be identified through a monitoring report, investigation, review or audit.
Disallowed or questioned costs shalf be refunded and promptly repaid to EDSI

by Contractor within 30 days of the issuance of the applicable report in-the event
the costs cannot otherwise be resolved.

e. Audit Resolution Procedures.
Contractor agrees to be subject to audit resolution procedures established by
EDSI, the Commonwealth of Pennsylvania or other governing body and to
cooperate with EDS! in the event resolution cannot be achieved at EDSI’s level.
EDSI reserves the right to withhold an amount equal to any amount questioned
during audit. These funds may be withheld from this Agreement or any future

contract with EDSI. The funds will be disbursed only upon successful resolution
of the finding.

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If this or any other agreement is in effect at the time of the identification of a
disallowed cost, EDSI may deduct the amount disallowed from any
reimbursement or payments due the Contractor.

g. Failure to Discover.
EDS''s failure to either promptly discover or demand prompt payment for
questioned or disallowed costs will not relieve Contractor from its obligation to
repay the disallowed or questioned cast at the time of identification on demand.

h. Stand In Costs.
Contractor may with the written approval of EDS! and PWDC, substitute
allowable program applicable uncharged costs or in kind contributions made
from non federal sources to support the Program funded by this Agreement, fo
stand in for a disallowed or questioned cost only to the extent such contribution
or in kind payment has been proposed and identified in Contractor's Budget
attached to this Agreement and such expenditure is documented and supported
by the Contractor's independent audit report. The uncharged costs must have
been incurred in the same title, cost category and funding period as the costs
which they are proposed to replace.

i. Expiration of this Agreement.

The expiration of this Agreement shall not affect EDSI. the State’s, or the DOL’s

right to audit, disallow or question a cost, nor Contractor's obligation to repay the
cost.

j. EOSI or its designated agent reserves the right to perform program financial and
compliance monitoring of the Contractor's financial and program books and
recards at EDSI’s reasonable discretion and upon advance notice to Contractor.
These monitoring visits will be limited in scope and are not intended to preclude
the external audit of the program required and as stated above.

14, RECORDS

15.

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Contractor shall keep accurate records of the time spent in the performance of
Services hereunder. EDS! shall, until the expiration of three (3) years after final
payment under this Agreement, have access to and the right to examine any directly

pertinent books, documents, papers and records to Contractor involving transactions
related to this Agreement.

CHANGES

EDSI, within the general scope of this Agreement, may, at any time by written notice
to Contractor, issue additional instructions or request additional services or the
omission of services covered by this Agreement. In such event, there will be made
an equitable adjustment in price and time of performance.

. NOTICES

Any notice shail be considered as having been given (i) to EDS! if mailed by certified
mail, postage prepaid to EDUCATIONAL DATA SYSTEMS, INC., 15300 Commerce

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Drive North, Suite 200, Dearborn, Michigan 48120 (ii) to Contractor if mailed by

certified mail, postage prepaid to 1819 JFK Blvd., Suite 220, Philadelphia, PA
19103.

COMPLIANCE WITH LAWS

Both parties shall comply with all applicable state, federal and local laws, and

-executive orders and regulations in the performance of this Agreement. Each party

will notify the other immediately if it becomes the subject of an audit or investigation
relating to this Agreement or if any of its agents, contractors or employees become
indicted, suspended or debarred. The parties mutually represent that they have not
been convicted of fraud or any ather felony arising out of a contract with previous
clients.

INSURANCE, INDEMNITY AND LIABILITY

Contractor shall carry Comprehensive General Liability Insurance and, if applicable,
Worker's Compensation Insurance covering its employees, contractors and agents,
and shall provide written proof upon request that EDSI is a loss payee under such
insurance policies. The parties hereby indemnify and hold harmless the other from
and against any and all claims, actions or demands against the indemnified party
and any and all damages, liabilities or expenses, including counsel fees, arising out
of the acts or omissions of the indemnifying party under this Agreement. The
indemnification provisigns of this section 18 shall survive termination of this
Agreement.

CONFLICT OF INTEREST

Both parties hereto represent and covenant that neither they nor any of their
employees or representatives has or shall have, directly or indirectly, any agreement
ot arrangement with any official, employee or representative of any customer or of
any government or governmental agency or of any political party under which any
such official, employee, representative or political party shall receive either directly or
indiractly anything of value whether monetary or otherwise as the result of or in
connection with any actual or contemplated sale of any product or service of either
party or any of its subsidiaries to any customer, government or governmental. agency
or as the result of or in connection with any action or contemplated action taken or
requested to be taken by any government or governmental agency of any nature
ralating to either party or any of its subsidiaries.

DISCLOSURE

Each party hereto shail have the right, in its discretion, to disclose the terms and
conditions of this Agreement (as it may be amended from time to time), including
without limitation, amounts paid pursuant hereto, to the agents of the client for which
services are being provided.

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21. DISPUTES

Any dispute arising under this Agreement that is not settled by Agreement of the
parties may be settled by appropriate legal proceedings. Pending any decision,
appeal or judgment in such proceedings or the settlament of any dispute arising
under this Agreement, Contractor and EDSI shall proceed diligently with the
performance of this Agreement, which performance shall include, without limitation,
EDSI's payment to CPA for services rendered hereunder.

IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
date first written.

 

 

CARING PEOPLE ALLIANCE EDUCATIONAL DATA SYSTEMS, INC.
By (loo... = Sse00 En By fa LE bei phe
Alone F. Bell, Esq. “WN. Robert SchnieSers, President

Titte__ President and CEO
Employer Identification # XX-XXXXXXX
CONTRACTOR AGREEMENT NO. 05-05

DATE September 6, 2005

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Exhibit “A”
Scope of Services

The services to be performed by Contractor under the Agreement are described as
foliows (the services described in Sections A and B of this Exhibit “A” are referred to
herein and in the remainder of the Agreement as the “Services’):

A. CASE MANAGEMENT SERVICES. Contractor will provide case management
services to TANF clients referred to the West Philadelphia EARN Center from the West
District County Assistance Office or other relevant referral source in accordance with
program guidelines as developed by the Philadelphia Workforce Development
Corporation and implemented through contract with EDSt. The Services shall be
provided on premises owned by Contractor, located at 3512 Haverford Avenue,
Philadelphia, PA 19104, known as the West Philadelphia Community Center (the

“WPCC Premises”). Contractor will also provide supervision and direction for case
management services.

1. Case Management shall consist of:

(a) Professional social work services designed to assist clients in
overcoming barriers to gaining, retaining or advancing in employment. Such services
include:

1. clinical and work ready assessments;

2. preparing and updating participant work plans (EDRPs);

3. regular meetings with participants throughout all phases of the
program;
confidential individual and/or group counseling sessions;
information and referral to needed program services through other
providers or government programs;

6. Other services as required by PWDC or deemed appropriate by EDS!
in order to assist participants in meeting their goals and in meeting
EARN Center contract performance goals.

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Case management services are provided by case managers with a relevant bachelors
degree including social work, psychology, saciology, education, or other relevant field.

(b) Supervision includes professional, trained, staff supervision and
case consultation with a master's level, clinically prepared specialist. Supervisory
personnel will assign cases, consult with staff, determine training needs for staff,
manage workloads and case managers’ schedules, evaluate case management staff,
and work with EDSI staff to assure that contract performance goals are met.

(c) Case Management Direction for the program will be provided by a
clinically trained, master's level social worker with at least 5 years of social work
experience and 3 years of administrative/management experience. The Case
Management director will oversee all aspects of the case management services and will
coordinate case management activities and services with program needs, Philadelphia
Workforce Development Corporation directives, and contract performance goals as
determined by EDSI.

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2. Staffing

Contractor will provide the West Philadelphia EARN Center with fifteen
(15) FTE case managers, two (2) FTE case management supervisors, and one (1) FTE
case management director, all of whom will meet the above-described staff
requirements.

3. Client Levels

Contractor's case managers shall carry no more than 35 active client cases at
any one time. Whether any particular case is deemed “active” shall be within discretion
of EDSt in consultation with Case Management Director.

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Exhibit “B” to Contractor Agreement and Shared Space Agreement:
Budget

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SHARED SPACE AGREEMENT

THIS SHARED SPACE AGREEMENT (“Agreement”) dated _, 2005, but effective
as of January 1, 2005, between Educational Data Systems, Inc. a Michigan corporation (herein
called “EDSI"), with an address of 15300 Commerce Drive North, Suite 200, Dearborn, MI

48120, and Caring People Alliance, a Pennsylvania non-profit corporation (herein called “CPA’),
with an address of 1819 JFK Bivd., Suite 220, Philadelphia, PA 19103.

WHEREAS, EDS is the recipient of certain grant funds from Philadelphia Work Force
Development Corporation (“PWDC’) to operate a program known as the Employment
Advancement and Retention Center (“EARN” or the “Program’); and

WHEREAS, EDS! has subcontracted with CPA to provide space in connection with the Program
at The West Philadelphia Community Center at 3512 Haverford Avenue, Philadelphia,
PA 19104 (the “WPCC’), a property owned and operated by CPA;

NOW THEREFORE, in consideration of the mutual promises herein contained, EDSt and CPA,
intending to be legally bound, agree as follows:

1. The Premises.

a. A. Exclusive Use. CPA hereby agrees to make available for use by
EDS!, and EDSI agrees to use during the term hereof the areas described in

subsections 1(i) through 14(xi), below (such areas, subject to the below restrictions, are
referred to as the “Premises” in this Agreement:

(i) those certain eight (8) workstations located behind the main
reception desk in the lobby area, as shown on that certain Floor Plan (the “Plan”)
attached hereto as Diagram 1, Area 1;

(ii} the back half of the cafeteria, for the period fram 8:00 am to

5:00 pm Mondays through Fridays, except legal halidays, as shown on the Plan at
Diagram 1, Area 2;

(ii) the area shown on the Plan as Diagram 2, Area 1;

{iv) the area shown on the Plan as Diagram 2, Area 2, for the
period from 8:00 am to 3:00 pm Mondays through Fridays, except legal holidays;
provided that EDSI may not site staff at said location on a permanent basis;

(v) manager's office, as shown on the Plan at Diagram 2, Area 4;
(vi) the area shown on the Plan as Diagram 2, Area 6;

. (vii) case manager's space, as shown on the Plan as Diagram 2,
Area 7;

(viii) case management director's space, as shown on the Plan as
Diagram 2, Area 8;

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(ix) teen lounge, as shown on the Plan as Diagram 2, Area 10;
provided, however, that CPA reserves the use thereof after 3:00 PM every day, and on
legal! holidays;

. {x) the middle of three rooms subdivided from the area as shown
on the Plan as Diagram 2, Area 11, for additional case management office space;

(xi) technology lab with office inside, for the period from 8:00 am to
4:00 pm Mondays through Fridays, except legal holidays, as shown on the Plan at
Diagram 1, Area 4, subject to (a) use up to 4 hours per week during the aforementioned
hours for CPA’s senior program, (b) CPA's use of any open terminal at any time; (c) the
Office inside the techfidlogy lab is CPA’s exclusive space, not to be used by EDS! at any
time, and (d) all technology equipment in the lab will be maintained exclusively by CPA;

. EDSI agrees to leave as many working computer stations in the lab as CPA maintained
in the lab prior to EARN Center renovations.

(xii) the area shown on the Plan as Diagram 2, Area 3; and
(xiii) the area shown on the Plan as Diagram 2, Area 5,

B. Non-Exclusive Common Areas. In addition to the exclusive use of
the Premises, EDSI shall also be permitted to use, on a non-exclusive basis and in

coordination with the CPA's use for its various programs, the following common areas
(the “Common Areas’):

(i) the waiting and reception area of the lobby (as shown on the
Plan at Diagram 1, Area 1);

(ii) the conference room, by reservation through CPA's office staff
on a first-come, first-served basis (as shown on the Plan at Diagram 1, Area 3);

(iii) the conference room, by reservation through CPA's office staff
on a first-come, first-served basis, as shown on the Plan at Diagram 2, Area 9; subject,
however, to CPA's reserved use after 4:00 pm every day;

(iv) upstairs hallway space for the storage of file cabinets for the
EARN Program:

(v) designated bathroom, other half of cafeteria for breakfast and

lunch. Individuals with mobility issues may use a small handicap-only elevator in the
buifding.

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C. Other Areas.

(i) The area shown on the Plan at Diagram 1, Area 5 may be built
out with EARN Funds to accommodate CPA statf from non-EARN Center programs who
have been displaced by the EDSI’s EARN Center case management consultant.

Displacement costs have been incorporated into the approved Budget. EDSI shall have
no use of this area.

(ii) Other areas at the WPCC Premises are not included in this
Agreement but may be made available to EDSI at the sole discretion of CPA.

2. Agreement Term. The Agreement shall be for a term from (i) January 1,
2005 through June 30, 2006 (“the term"). The Agreement will expire of its own accord
on the last day of said term, without either party having to provide notice of such
termination. Notwithstanding anything to the contrary contained herein or in that certain
Contractor Agreement between CPA and EDS! dated as of even date herewith, CPA
reserves the right to terminate this Agreement if said Contractor Agreement is
terminated. Such termination shall be effective immediately upon notice to EDSI.

3. Use.

A. Restricted Use. EDSI will be permitted to use the Premises and
Common Areas solely for the EARN Program and for no other purpose.

B. Health and Safety. WPCC is a camprehensive community center
~ that has many other users and functions, other than the EARN Center. The Center

Director or other designee of CPA is charged with the health and safety of all users and
is the finat authority with respect to spaces and users. The Center Director has the
authority to evict or refuse entry to any person when in the Center's Director's judgment,
that person poses a threat fo center facilities or property or to the health or safety of
center users. The Center Director also has the authority to cancel any and all activities
for weather or other emergencies and has the authority to order the immediate vacating
of the premises in emergency or potential emergency situations. Further, CPA reserves
the right to regulate all manner of use of the WPCC by EDSI and others. Tenant shall
abide by CPA’s code of conduct including dress, use of proper language, and the
avoidance of hostile, angry or threatening behavior. CPA reserves the right to evict or
ban any person in any program, either client or staff, for violation of these rules.

C, Background Checks. Prior to commencement of work at the
WPCC Premises by EDSI’s employees and contractors, such employees and
contractors shall provide CPA with original up-to-date (less than 1 year old)
Pennsylvania child abuse clearances and Pennsylvania Criminal background checks,
which shall be acceptable to CPA in its sole discretion. CPA reserves the right to
require FBI background checks for all out-of-state workers or those residing in
Pennsylvania for less than one year. CPA reserves the right to ban any individual from
the WPCC Premises if the aforementioned documents are not provided to CPA as
aforesaid. It is the responsibility of the individual or employing agency to obtain these
background checks and provide them to CPA. The foregoing requirements shall be
strictly enforced.

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Shared Space Agraement Final
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5. Fees. In consideration for use of the space, EDSI agrees to pay CPA the
following fees in equal monthly installments. The monthly installments are charged to
EDSI in monthly invoices per the Contractor Agreement between EDSI and CPA. The
monthly base fee shall be Three Thousand Ten and 40/100 Dollars ($3,010.40), plus
monthly utilities in the additional amount of Five Thousand Eight Hundred Thirty-Three
and 30/100 Dollars ($5,833.30). The total monthly fees are Eight Thousand Eight
Hundred Forty-Three and 70/100 Dollars ($8,843.70), such fees having been

incorporated into the budget agreed to by EDS! and CPA and made part of their
_ Contractor's Agreement.

6. Assignment and Subletting. EDS! shall not assign this Agreement, or sub-
let or grant any license to use the Premises or any part thereof without the prior wntten
consent of CPA. An assignment, sub-letting or license without the prior written consent

of CPA or an assignment or sub-letting by operation of law shall be absolutely null and
void and shall, at CPA's option, terminate this Agreement.

7. Maintenance and Repairs; Improvements.

A. The EDSI is responsible for all maintenance and repairs within any
areas that are caused by EDSI's acts or omissions. The provisions of this section 7 A
shall survive termination of the Contractor Agreement and Shared Space Agreement.

B. The EDSI shall not be permitted to make any alterations or
improvements to the Premises unless approved by CPA in writing, which approval may
be withheld by CPA within its sole discretion.

C. All improvements to the Premises and elsewhere at the WPCC,
including dividing walls, carpeting, window shades, workstations, reception areas, and
installed furniture purchased by CPA through the Contractor Agreement and this
Agreement shall be and remain at all times the sole and exclusive property of CPA,
except where the EARN Center contract between EDSI and PWDC requires the return
of such property. In these instances, EDS! agrees to make a good-faith petition to
PWDC on behalf of CPA to retain said property at the WPCC for the continued benefit
of the Mantua community through CPA's charitable mission. The provisions of this

- section 6 C shall survive termination of the Contractor Agreement and Shared Space
Agreement.

8. Indemnification. EDSI is liable for, and shall. indemnify, defend and save
harmless CPA from ail fines, suits, judgments, procedures, claims, actions, damages
and liabilities of any kind (including attorneys’ fees, court costs, expert and consultant
fees and expenses) arising out of or in any way connected with the use of the Premises
and Common Areas or elsewhere in the WPCC for the EARN Program or arising out of
the generation, use, storage or handling by the EDSI or its invitees, or any spills,
releases or discharges by the EDSI of, hazardous materials at the WPCC. The

provisions of this section 8 shall survive termination of the Contractor Agreement and
Shared Space Agreement.

Shared Space Agreement Final -
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9. As-ls_ Condition. EDS! acknowledges that EDSI has inspected the.
Premises and WPCC and is familiar with the present condition of the WPCC. EDS!
agrees (a) that neither CPA, nor any agent of CPA, has made and does not make,
herein or otherwise, any representation or warranty as to the condition or size of all or
any portion of the Premises or any of the improvements or equipment located therein, or

- of the Land; (b) that EDS! is relying solely on EDSI's own examination and investigation
as to all of the same; and (c) that CPA has made no warranty express or implied
conceming the habitability, use or fitness for any particular purpose of the premises or
any improvements or equipment located thereon, or the title thereto, or of any Zoning or
other legal requirements applicable to the Premises and WPCC. The premises are
being made available to EDSI strictly in an “as-is” condition. As the EDSI is. using the
premises in “as-is” condition, CPA will not be responsible for any damage to any of
EDSI's personal property/equipment at the premises, including but not limited to any

damage from leaks in the roof, unless the damage is caused by the failure of CPA to
promptly repair a leak.

10. Surrender of Premises. Upon the expiration of the term hereof, EDS] shall
surrender the Premises in as good a state and condition as they were at the
commencement of this Agreement, reasonable use and wear and tear thereof and
damages by the elements excepted.

11. Hold Over. If EDS! remains in possession of the Premises with the
consent of CPA after the natural expiration of this Agreement, and without a signed
Agreement for a renewal term in effect, a new Shared Space Agreement from month-to-
month shalt be created between EDS! and CPA which shall be subject to all of the terms
and conditions hereof except that the fee for use is due and owing at FIVE THOUSAND
00/100 DOLLARS ($5,000.00) per month plus monthly utilities in the additional amount of
SIX THOUSAND, FIVE HUNDRED 00/100 Dollars ($6,500.00) for a total monthly
payment of ELEVEN THOUSAND FIVE HUNDRED 00/100 DOLLARS ($11,500.00). ~
Such tenancy shall be terminable upon fifteen (15) days written notice served by either
party.

 

12. Default. If EDSI fails to comply with any of the material provisions of this
Agreement, other than the covenant to pay use fees and utilities, or of any present rules
and regulations or any that may be hereafter prescribed by CPA, or materially fails to
comply with any duties imposed on CPA by statute, within seven (7) days after delivery
of written notice by CPA specifying the non-compliance and indicating the intention of

- CPA to terminate the Shared Space Agreement by reason thereof, CPA may terminate
this Agreement

13. Insurance. At its expense, EDS! shall maintain and keep in effect
throughout the Agreement term (i) insurance against claims for personal injury including
death or property damage under a policy of general public liability insurance, with a
combined single limit of not less than One Million Dollars ($1,000,000.00); (ii) all risk
casualty insurance covering any and all of EDSI's personal property in the premises or
elsewhere in the WPCC and all leasehold improvements and all risk casualty insurance
covering all leasehold fumiture, fixture and improvements, existing or installed in the

-5-
Shared Space Agraement Final
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premises by EDSI; (iii) Comprehensive General Liability Insurance and, if applicable,
Worker's Compensation Insurance covering EDS!’s employees, contractors and agents
working at the Premises. CPA shall be named as an additional insured on the insurance
identified in this Section, and EDSI shall provide CPA with a certificate of such insurance

so naming CPA.as an additional insured prior to taking possession of the premises and as
may be requested thereafter by CPA.

13.  Attorney’s Fee. Should it become necessary for CPA to employ an
attorney to enforce any of the conditions or covenants hereof, including the collection of

rentals or gaining possession of the Premises, EDS! agrees to pay all expenses so
incurred, including a reasonable attorneys’ fee.

14. Miscellaneous.

A. This Agreement has been delivered in and shail be construed and
enforced in accordance with the laws of the Commonwealth of Pennsylvania.

B. if any provision of this Agreement or the application thereof shail,
for any reason and to any extent, be invalid or unenforceable, neither the remainder of
this Agreement nor the application of the provision to other persons, entities or

circumstances shall be affected thereby, but instead shall be enforced ta the maximum
extent permitted by law.

C. The covenants, obligations and conditions herein contained shall
be binding on and inure to the benefit of the heirs, legal representatives, and assigns of
the parties hereto.

D. No indulgence, waiver, election or non-election by CPA under this
Agreement shall affect EDSI's duties and liabilities hereunder.

IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
date first written.

CARIN PLE ALLIANCE
py. by ZL. DAeeg ST

Name: Arlene F. Bell, Esa. C
Title: — President and CEO
EDUCATIONA L DATA SYSTEMS, INC.
By: LE? i 3 Ce
et Fr ee
Name: W. Robert Schnieders
President

 

Title:

 

Shared Space Agreement Final
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Lease Addendum, Floor Plan
Diagrams 1-3

_ Shared Space Agreement Final
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EXHIBIT “B". For Contractor Agreamenet and Shared Lease Agreement

Budget 18-Month
a. Personnel
Center Positions NAME
Director of Center Operation Jerry Macdonald, Ph.D. 28,834
Center Director Andre Ascaton 33,000
Administrative Assist/Sup Vacant 33,000
Receptionist Vacant 49,875
Maintenance Vacant 40,500
Director of Technology Prog: William Butler 19,350
Tech Lab Instructor Vacant 9,938
Case Management Positio:
Director of Case Manageme Vacant 58,125
. Case Manager Supervisors* Vacant 93,333
Case Managers" Vacant 484,693
Administrative Positions
Executive Director Artene F. Bell, Esq. 19,800
Deputy Executive Director/C Donald H. Kandel 17,738
Accounts R/P Chery! Devose 12,000
Payroll Darnell Jones 11,100
Controller William Hastings 22,313
Subtotal 933,598
b. FRINGE BENEFITS
FICA (Sacial Security) .062 x total gross up to $80, 57,883
Medicare .0145 x total gross 13,537
Workers Compensation .032 x total gross 29,875
PA Unemployment Comp. .062 ist $8,000/employee 24,071
Health and Dental @$150 54,208
Life Insurance .019 x gross . 17,738
Retirement(of eligible salarie0.10% 88,692
Subtotal 286,004

c. TRAVEL (Out of Town)
Staff Development-travel/conf/mtgs 5000

d. EQUIPMENT
C-M Photocopier $500 / month 9000

Subtotal 9,000
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e, SUPPLIES

Postage

Office Supplies (par FTE)

Training Supplies (VCR, TV, videos, books, curriculum mi

IBM Compatible laptop/LCD projector combination, softw:
_ Office furn: desk, chair, filing cabinet, bookshelves, storac

Laptop Computers

Wireless Network

Subtotal

f. CONTRACTUAL

Case Management Consultants
Consultant Travel ,

Subtotal
g. Construction

h. OTHER

Insurance

Telephone/Communications

Equiptment Repair/Rental

Custodial Supplies

Staff travel (local) 2 staff x .30/mi x 50 miles/wk x 36 wks

Rent Commanaity Center
Utilities

Subtotal (minus lines 64-66)
i. Total Direct Charges

k. TOTALS

Total billed to EDS!

3000
12000
5000
7,000
16,000
20,000
5,000

68,000

0

0

0

198,810
11,603
11,250
15,000
48,750
2,160
54,188
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EXHIBIT B
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EXHIBIT C
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Cached messages Message 62 of 92 in conversation
« Older | Newer» View Entire Thread (92) Reply | Reply to all | Forward | View.in Outlook

Message with no subject from: W. Robert Schnieders
<wrs@edsincorporated.com>

From: W. Robert Schnieders <wrs@edsincorporated.com>
To: Debbie H. Coleman <DColeman@pwdc.org>

CC: Carrie A. DAndrea <CDAndrea@pwdc.org>

Date: May 31 2006 - 12:27pm

Debbie:

| just want to give you a heads up on a recent situation with CPA. | talked with
Arlene Bell last week to see if they were going to fill their vacant staff positions of if
they wanted us to use EDSI personnel? She indicated that she has greater financial
difficulties and was growing concerned about being involved in a performance based
contract. | just heard they are on their way to the EARN Center to announce to their
staff they will be released effective June 30th.

in the earlier conversation, | assured Arlene we wanted to maintain the relationship
and would continue to honor the lease terms with the Community Center for post-

placement services so they will remain a major partner but not doing the case
management.

Please cali me if you have any questions.
Bob

W. Robert Schnieders

President

Educational Data Systems, Inc.

313-271-2660

HYPERLINK "mailto:wrs@edsincorporated.com"wrs@edsincorporated.com

http://127.0.0.1:4664/cache?event_id=25719&schema_id=] &q=CPA&s=0KnDzchOltoEt... 3/12/2007
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EXHIBIT D
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June 6, 2006

Arlene Bell

Executive Director
Caring People Alliance
1819 JFK Boulevard
Suite 220

Philadelphia, PA 19103

Dear Ms. Bell:
Educational Data Systems, Inc. is required to submit a final invoice to PWDC by the end
of July. Because of this, we will need to receive your final invoice no late than July 20,

2006. The fiscal year ends June 30" and this will ensure that everything is in order to
close out the grant.

If you have any questions or concerns, please contact Mark Pressey at 313-271-2660 or
by e-mail at mpressey@edsincorporated.com.

It has been a pleasure working with your organization and we appreciate all the
contributions you have made to create a highly successful EARN Center.

Sincerely,

W. Robert Schnieders
President
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EXHIBIT E
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October 24, 2006

William Hastings

Caring People Alliance
1819 JFK Blvd., Suite 220
Philadelphia, PA 19103

Dear. Mr. Hastings:

Enclosed, please find a check for $139,398.13. The information below details final EARN
Center payments for the year ending June 30, 2006. Payments were based on the total
funding EDS! received to disburse on a cost reimbursed basis (column b), and the amount of
performance based money (column e) that was earned for the year. The total shortfall in
funding we experienced was $1,063,519.84. Thank you.

A B Cc D B-D E

 

New Total Total Unpaid Prorated

Budget 70% of Invoices Invoices Balance Performance
Subcontractor 412 month Budget , Received Paid of 70% Payment
CPA $ 826,209.00 $ 578,346.30 $ 826,209.00 $ 563,123.50 $ 15,222.80 $ 124,175.33

 

Potential benchmark payment: $ 860,000.00
Benchmark payments receiver $ 619,308.00
Benchmark payment shortfall $ (240,692.00)

Additional Enrollment Money E $ 1,372,827.84
Additional Enrollment Money F $ 550,000.00

Enrollment Shortfall $ (822,827.84)
Total Shortfall in funding $ (1,063,519.84)
Sincerely,

WW. Robert Schnieders
‘resident

E+B-D

Final Payout
Case 2:07-cv-01267-SD Document 12-3 Filed 08/09/07 Page 37 of 42

EXHIBIT F
 

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W. Robert Schnieders

 

From: Jennifer Sarkisian

Sent: Thursday, October 26, 2006 4:27 PM
To: W. Robert Schnieders

Subject: Voice Mail Message

Bob,

Mark left you a voice mail message. He wanted to tell you about a conversation he had with
CPA today. They were asking about why the check was so low. He explained how it was
calculated. He told them that the original numbers that were given were on the high side -.we
were shorted money. Had we earned the original amount, there would not have been a
problem. They were very disappointed and asked if the change in the budget was ever
‘communicated to anyone. He said that you had talked with the Directors about the change.

I left the voice mail message on your machine in case you want to listen to it.

Jennifer Sarkisian

Administrative Assistant to W. Robert Schnieders
Educational Data Systems, Inc.

313-271-2660 Ext. 119
jsarkisian@edsincorporated.com

3/12/2007
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EXHIBIT G
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CARING PEOPLE ALLIANCE,

Plaintiff, Civil Action
. Vv. . .
EDUCATIONAL DATA SYSTEMS, INC.., No. 07-CV-1267
Defendant.

ANSWER, NEW MATTER AND AFFIRMATIVE DEFENSES.
OF DEFENDANT, EDUCATIONAL DATA SYSTEMS, INC.

1. Admitted upon information and belief.

2. Admitted.

3. Admitted in part, denied in part. It is admitted that CPA’s:
principal place of business is located in Philadelphia County, that EDSI
regularly conducts business in Philadelphia County and that the transaction
between EDSI and CPA took place in Philadelphia County. It is denied that
EDSI engaged in any conduct which was in breach of its contract with CPA,
through which it was unjustly enriched or which was wrongful in any way, or
that CPA is entitled to any of the relief it seeks in its Complaint.

4. Admitted.

5. Denied. Defendant is without sufficient knowledge to form a belief
as to the truth of the allegations in paragraph 5 of Plaintiff's Complaint. Those .

allegations are, therefore, denied and strict proof is demanded at trial.
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62. EDSI informed CPA that, under the terms if the Agreement, any
invoice for the last quarter of fiscal year 2005 (ending June 30, 2005) had to be
submitted by July 10, 2005.

63. CPA did not submit its invoice for April, May and June, 2005,
totaling $255,991.58, until July 25, 2005.

64. EDSI attempted to submit CPA’s invoice for April, May and June,
2005 to the PWDC for payment but, because the fiscal year had ended, the
PWDC informed EDSI that the invoice could not be paid and EDSI in turn
informed CPA that the PWDC refused to pay the invoice for April, May and
June, 2005.

65. Because the PWDC refused to pay the $255,991.58 invoice for
April, May and June, 2005, EDSI was deobligated from paying CPA those
funds.

66. In January, 2006, the PWDC informed EDSI that its budget for the
project would be reduced to the amount of the actual expenditures for fiscal
year 2005, $524,879.28 as opposed to the budgeted $1,580,640.00. Because
_ of the reduction in the budget for fiscal year 2005, the budget for fiscal year
2006 was increased from $3,161,274.00 to $3,569 ,042.00, resulting in a
reduction in the overall budget for the project of $647,993.00.

67. When EDSI was informed by the PWDC that its total budget for the
project was reduced by $647,993.00, EDSI immediately informed all of its
contractors, including CPA, that their budgets would be reduced

proportionately.

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68. Specifically, EDSI informed CPA that its maximum budget for the
remaining twelve (12) months of the Agreement would be reduced to
$826,209.00, 70% of which was guaranteed and 30% of which was
performance based and would only be due and payable if certain enrollment,
training and placement benchmarks were met.

69. In March, 2006, because of attrition in the case management staff
_at CPA and other performance failures, EDSI was forced to and did rent space
at a facility outside of CPA’s building and provide EDSI staff to complete the —
obligations allocated to CPA under EDIS’s agreement with the PWDC, resulting
in additional unreimbursed expenditures by EDSI.

70. In December, 2005, CPA submitted invoices for the months of
July, August, September, and October, 2005 totaling $394,494.44, which
invoices were received by EDSI on January 2, 2006.

71. CPA submitted two additional invoices for November, 2005 and
December, 2005 totaling $168,629.06, which invoices were received by EDSI
_on January 12, 2006.

72. EDSI submitted these invoices to the PWDC and, when the total of
$563, 123.50 was paid by the PWDC, paid that amount to CPA.

73. After receiving CPA’s final invoices for fiscal year 2006, EDSI
calculated the remaining amounts due and payable to CPA under the terms of

the agreement.

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